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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )             8:07CR266
                     Plaintiff,                  )
                                                 )
       vs.                                       )               ORDER
                                                 )
PATRICE RAVEN,                                   )
                                                 )
                 Defendant.                      )


       After a review of the filings from the Northern District of California (No. 307CR671-
JSW), I find that the above-named defendant is eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice
Act Plan for the District of Nebraska.

       IT IS ORDERED:

       The Federal Public Defender for the District of Nebraska is appointed to represent
the above named defendant in this matter. In the event that the Federal Public Defender
accepts this appointment, the Federal Public Defender shall forthwith file a written
appearance in this matter. In the event the Federal Public Defender should decline this
appointment for reason of conflict or on the basis of the Criminal Justice Act Plan, the
Federal Public Defender shall forthwith provide the court with a draft appointment order
(CJA Form 20) bearing the name and other identifying information of the CJA Panel
attorney identified in accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska.

       DATED this 28th day of March, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
